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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


CORDIRO R. BROWN,                                 )
                                                  )
                Plaintiff,                        )   2:20-CV-00512-CCW-MPK
                                                  )
        vs.                                       )   District Judge Christy Criswell Wiegand
                                                  )   Magistrate Judge Maureen P. Kelly
JOHN WETZEL, MALINDA ADAMS,                       )
RICHARD COONEY, KARAN FEATHER,                    )
                                                  )   ECF No. 183
PHILLIP MCCRACKEN, PAMALA BEHR,                   )
EMMANUELLA FELIX,                                 )
                                                  )
                Defendants.                       )
                                                  )
                                                  )


                                  MEMORANDUM ORDER

       This case has been referred to United States Magistrate Judge Maureen P. Kelly for pretrial

proceedings in accordance with the Magistrates Act, 28 U.S.C. §§ 636(b)(l)(A) and (B), and Local

Rule of Civil Procedure 72.

       On April 13, 2021, the Magistrate Judge issued a Report, ECF No. 208, recommending

that Plaintiff’s Motion for Preliminary Injunction, Motion for Temporary Restraining Order

(“Motion for Preliminary Injunction”), ECF No. 183, be denied. Service of the Report and

Recommendation (“R&R”) was made on the parties, and Plaintiff has filed a Motion for

Reconsideration, which the Court construes as Objections to the Magistrate Judge’s R&R.

See ECF No. 219.

       After a de novo review of the pleadings and documents in the case, together with the R&R

and the Objections thereto, the following Order is entered:

Plaintiff’s Motion for Preliminary Injunction, ECF No. 183, is hereby DENIED. The Report and

Recommendation, ECF No. 208, is adopted as the Opinion of the District Court.
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       IT IS SO ORDERED.

       DATED this 5th day of May, 2021.


                                              /s/ Christy Criswell Wiegand
                                              CHRISTY CRISWELL WIEGAND
                                              United States District Judge


cc:   The Honorable Maureen P. Kelly
      United States Magistrate Judge

      Cordiro R. Brown
      LT 6439
      SCI Mercer
      801 Butler Pike
      Mercer, PA 16137

      All Counsel of Record via CM/ECF




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